         Case 3:24-cv-01304-MMC Document 52-1 Filed 05/24/24 Page 1 of 3



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11                               UNITED STATES DISTRICT COURT

12                              NORTHERN DISTRICT OF CALIFORNIA

13                                  SAN FRANCISCO DIVISION

14

15   PARAG AGRAWAL, NED SEGAL,                   Case No. 3:24-cv-01304-MMC
     VIJAYA GADDE, and SEAN EDGETT,
16
                                                 Assigned to: Honorable Maxine M. Chesney
17                Plaintiffs,
                                                 DECLARATION OF NICOLE M. RYAN IN
18         vs.                                   SUPPORT OF STIPULATION AND
                                                 [PROPOSED] ORDER MODIFYING
19   ELON MUSK; X CORP., f/k/a TWITTER, INC.;    BRIEFING SCHEDULE FOR
     TWITTER, INC. CHANGE OF CONTROL             DEFENDANTS’ MOTION TO DISMISS
20   AND INVOLUNTARY TERMINATION                 COUNT V OF THE COMPLAINT
     PROTECTION POLICY; TWITTER, INC.
21   CHANGE OF CONTROL SEVERANCE AND              Compl. Filed:        March 4, 2024
     INVOLUNTARY TERMINATION
22   PROTECTION POLICY; LINDSAY                   Mot. Filed:          May 20, 2024
     CHAPMAN; BRIAN BJELDE; AND
23   DHRUV BATURA,                                Mot. Hearing:        July 19, 2024
24                Defendants.
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          DECLARATION OF NICOLE M. RYAN IN SUPPORT OF STIPULATION AND [PROPOSED] ORDER
          MODIFYING BRIEFING SCHEDULE FOR DEFENDANTS’ MOTION TO DISMISS COUNT V OF THE
                            COMPLAINT – CASE NO. 3:24-CV-01304-MMC
         Case 3:24-cv-01304-MMC Document 52-1 Filed 05/24/24 Page 2 of 3



1             I, Nicole M. Ryan, declare as follows:

2             1.     I am an attorney at the law firm Sidley Austin LLP and counsel for Plaintiffs in this

3    matter. I am licensed to practice law in the State of California and admitted to practice before this

4    Court.

5             2.     I submit this declaration pursuant to Civil L.R. 6-2(a) in support of the Stipulation

6    and [Proposed] Order Modifying Briefing Schedule for Defendants’ Motion to Dismiss Count V of

7    the Complaint (the “Stipulation”).

8             3.     On March 4, 2024, Plaintiffs filed their Complaint against Defendants (Dkt. No. 1).

9             4.     On May 20, 2024, Defendants filed a Motion to Dismiss Count V of the Complaint

10   (Dkt. No. 46) (the “Motion”).

11            5.     Pursuant to Civil L.R. 7-3, Plaintiffs’ deadline to file an opposition to the Motion is

12   June 3, 2024, and Defendants’ deadline to file a reply to Plaintiffs’ opposition is June 10, 2024.

13            6.     Counsel for the parties have conferred regarding modifying the current briefing

14   schedule regarding the Motion. Pursuant to that discussion, to allow Plaintiffs sufficient time to file

15   their opposition to the Motion and to allow Defendants sufficient time to reply thereto, the Parties

16   have agreed to stipulate to extending the briefing schedule as follows:

17                   •   Plaintiffs shall file their opposition to the Motion by June 14, 2024; and

18                   •   Defendants shall file their reply to Plaintiffs’ opposition by June 28, 2024.

19            7.     No prior modifications of these deadlines have been made in this case.

20            8.     The requested time modification will not affect the scheduling in this case, aside from

21   establishing the proposed briefing schedule. The extension sought by the parties does not alter the

22   date of any event or any deadline already fixed by Court order.

23            9.      Defendants have noticed the Motion to be heard on July 19, 2024, and the extension

24   sought by the parties would ensure that the Motion is fully briefed three weeks in advance of that

25   hearing.

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          DECLARATION OF NICOLE M. RYAN IN SUPPORT OF STIPULATION AND [PROPOSED] ORDER
          MODIFYING BRIEFING SCHEDULE FOR DEFENDANTS’ MOTION TO DISMISS COUNT V OF THE
                            COMPLAINT – CASE NO. 3:24-CV-01304-MMC
         Case 3:24-cv-01304-MMC Document 52-1 Filed 05/24/24 Page 3 of 3



 1          I declare under penalty of perjury under the laws of the United States of America that the

 2   foregoing is true and correct. Executed on May 24, 2024.

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                                                        By: /s/ Nicole M. Ryan
 4                                                         Nicole M. Ryan
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          DECLARATION OF NICOLE M. RYAN IN SUPPORT OF STIPULATION AND [PROPOSED] ORDER
          MODIFYING BRIEFING SCHEDULE FOR DEFENDANTS’ MOTION TO DISMISS COUNT V OF THE
                            COMPLAINT – CASE NO. 3:24-CV-01304-MMC
